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                                                         U.S. Department of Justice

                                                         National Security Division


   Counterintelligence and Export Control Section        Washington, D.C. 20530


                                                         November 16, 2022

   By ECF and Courtesy Copy

   Judge Raymond J. Dearie
   United States District Court
    Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11202

   Re:       Donald J. Trump v. United States of America, Case No. 22-81294-CIV-CANNON –
             Corrected Logs of Disputed Documents for Report and Recommendation

   Dear Judge Dearie:

   The discrepancies in the Scanned Materials Log identified in ECF 185 are corrected in a revised
   log as follows:

         •   The revised log adds the missing row for SM_MAL-00000011 to SM_MAL-00000012 –
             there is no dispute for the Special Master to resolve;

         •   The revised log corrects the government’s designation of three documents to Presidential
             records from personal records (SM_MAL-00018439 to SM_MAL-00018444, SM_MAL-
             00020243, and SM_MAL-00021523 to SM_MAL-00021528) – there is no dispute for the
             Special Master to resolve; and

         •   The revised log removes the government’s dual designations of four documents, which
             was in error (SM_MAL-00001541, SM_MAL-00004502 to SM_MAL-00004503,
             SM_MAL-00004789 to SM_MAL-00004790, and SM_MAL-00018583 to SM_MAL-
             00018603) – three of the documents are designated by the government as Presidential
             records and remain in dispute; one record is designated by the government as a personal
             record and is no longer in dispute.

   In reviewing the Scanned Materials Log, the government also identified additional errors. The
   revised Scanned Materials Log is submitted to the Special Master with the courtesy copy of this
   letter.

   The discrepancy in the Filter Materials Log with respect to Filter Document 22, C-001, is
   corrected in the table that begins on the next page. The parties have no dispute as to the
   categorization of Filter Log Document 22 as personal and unprivileged.



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    Filter Document Log Reference   Filter Bates       Document              Privilege Status
    Number                          Number(s)          Categorization        (Executive Privilege Only)
    1                               A-001              Dispute               Dispute
                                                       Plaintiff: personal   Plaintiff: Executive privilege
                                                       records               Government: no privilege
                                                       Government:           against Executive Branch
                                                       Presidential
                                                       records
    2                               A-002 to A-        Dispute               Agreed: no claim of
                                    003                Plaintiff: personal   Executive Privilege by
                                                       records               Plaintiff
                                                       Government:
                                                       Presidential
                                                       records
    3                               A-004              Dispute               Agreed: no claim of
                                                       Plaintiff: personal   Executive Privilege by
                                                       records               Plaintiff
                                                       Government:
                                                       Presidential
                                                       records
    4                               A-005              Dispute               Agreed: no claim of
                                                       Plaintiff: personal   Executive Privilege by
                                                       records               Plaintiff
                                                       Government:
                                                       Presidential
                                                       records
    5                               A-006 to A-        Agreed                Agreed: no claim of
                                    016                Plaintiff: personal   Executive Privilege by
                                                       records               Plaintiff
                                                       Government:
                                                       personal records
    6                               A-017 to A-        Dispute               Dispute
                                    018                Plaintiff: personal   Plaintiff: Executive privilege
                                                       records               Government: no privilege
                                                       Government:           against Executive Branch
                                                       Presidential
                                                       records
    7                               A-019 to A-        Dispute               Agreed: no claim of
                                    020                Plaintiff: personal   Executive Privilege by
                                                       records               Plaintiff
                                                       Government:
                                                       Presidential
                                                       records
    8 (portion)                     A-021 to A-        Dispute               [UPDATED] Dispute
                                    022 and A-         Plaintiff: personal   Plaintiff: Executive privilege
                                    025 to A-026       records               Government: no privilege
                                                       Government:           against Executive Branch
                                                       Presidential
                                                       records
    8 (portion)                     A-023 to A-        Dispute               Dispute
                                    024                Plaintiff: personal   Plaintiff: Executive privilege
                                                       records (Judicial     Government: no privilege
                                                       Watch)                against Executive Branch
                                                       Government:
                                                       Presidential
                                                       records
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    Filter Document Log Reference   Filter Bates       Document              Privilege Status
    Number                          Number(s)          Categorization        (Executive Privilege Only)
    9                               A-029-A-030        [UPDATED]             Agreed: no claim of
                                                       Dispute               Executive Privilege by
                                                       Plaintiff: personal   Plaintiff
                                                       records
                                                       Government:
                                                       Presidential
                                                       records
    10                              A-031 to A-        Dispute               Dispute
                                    032                Plaintiff: personal   Plaintiff: Executive privilege
                                                       records (Judicial     Government: no privilege
                                                       Watch)                against Executive Branch
                                                       Government:
                                                       Presidential
                                                       records
    11                              A-033              [UPDATED]             Agreed: no claim of
                                                       Dispute               Executive Privilege by
                                                       Plaintiff: personal   Plaintiff
                                                       records
                                                       Government:
                                                       Presidential
                                                       records
    12 (portion)                    A-034 to A-        Dispute               Dispute
                                    035                Plaintiff: personal   Plaintiff: Executive privilege
                                                       records (Judicial     Government: no privilege
                                                       Watch)                against Executive Branch
                                                       Government:
                                                       Presidential
                                                       records
    12                              A-036 to           Dispute               [UPDATED] Dispute
                                    A040               Plaintiff: personal   Plaintiff: Executive privilege
                                                       records               Government: no privilege
                                                       Government:           against Executive Branch
                                                       Presidential
                                                       records               (N.B. Part of document 12
                                                                             was withheld from the
                                                                             government Case Team
                                                                             because Plaintiff claims
                                                                             attorney-client privilege and
                                                                             work product immunity)
    13 (portion)                    A-041 to A-        Dispute               Dispute
                                    042                Plaintiff: personal   Plaintiff: Executive privilege
                                                       records (Judicial     Government: no privilege
                                                       Watch)                against Executive Branch
                                                       Government:
                                                       Presidential
                                                       records
    13                              A-043 to           Dispute               [UPDATED] Dispute
                                    A052               Plaintiff: personal   Plaintiff: Executive privilege
                                                       records               Government: no privilege
                                                       Government:           against Executive Branch
                                                       Presidential
                                                       records               (N.B. Part of document 13
                                                                             was withheld from the
                                                                             government Case Team
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    Filter Document Log Reference       Filter Bates       Document              Privilege Status
    Number                              Number(s)          Categorization        (Executive Privilege Only)
                                                                                 because Plaintiff claims
                                                                                 attorney-client privilege and
                                                                                 work product immunity)
    14                                  A-053              Agreed: personal      Agreed: no claim of
                                                           records               Executive Privilege by
                                                                                 Plaintiff
    15                                  A-054              Agreed: personal      Dispute
                                                           records               Plaintiff: Executive privilege
                                                                                 Government: no Executive
                                                                                 privilege
    16                                  A-055              Agreed: personal      Dispute
                                                           records               Plaintiff: Executive privilege
                                                                                 Government: no Executive
                                                                                 privilege
    17                                  A-056 to A-        Agreed: personal      Agreed: no claim of
                                        058                records               Executive Privilege by
                                                                                 Plaintiff
    19                                  A-065 to A-        Agreed                Agreed: no claim of
                                        091                Plaintiff: personal   Executive Privilege by
                                                           records               Plaintiff
                                                           Government:
                                                           personal records
    20                                  A-092 to A-        Agreed                Agreed: no claim of
                                        098                Plaintiff: personal   Executive Privilege by
                                                           records               Plaintiff
                                                           Government:
                                                           personal records
    21                                  A-099 to A-        Agreed                Agreed: no claim of
                                        137                Plaintiff: personal   Executive Privilege by
                                                           records               Plaintiff
                                                           Government:
                                                           personal records
    22                                  C-001              Agreed                Agreed: no claim of
                                                           Plaintiff: personal   Executive Privilege by
                                                           records               Plaintiff
                                                           Government:
                                                           personal records
    SM_MAL_00001185 to                                     Dispute               Dispute
    SM_MAL_00001195 excluding                              Plaintiff: personal   Plaintiff: Executive privilege
    SM_MAL_00001190, which is the                          records               Government: no privilege
    subject of a separate letter from                      Government:           against Executive Branch
    the Filter Team                                        Presidential
                                                           records
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   The parties regret the discrepancies. Should any further discrepancies be identified, the parties
   will address them promptly.

                                                 Respectfully submitted,

                                                 JUAN ANTONIO GONZALEZ
                                                 UNITED STATES ATTORNEY

                                                 MATTHEW G. OLSEN
                                                 Assistant Attorney General

                                                 By:    /s/
                                                 JAY I. BRATT
                                                  Chief
                                                 JULIE EDELSTEIN
                                                  Deputy Chief
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                                                 Department of Justice
